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 8                            UNITED STATES DISTRICT COURT
 9                           SOUTHERN DISTRICT OF CALIFORNIA
10
11    JAMES BROCK dba BROCK FARMS                        Case No: 24-cv-1165-JES-MMP

12                              Plaintiff,              ORDER GRANTING JOINT
                                vs.                     MOTION FOR PROTECTIVE
13
                                                        ORDER
14    NATIONWIDE AGRIBUSINESS
      INSURANCE NAIC and DOES 1 through
      50, inclusive.                                    [ECF No. 22]
15
16                              Defendants.

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18
19          Before the Court is the parties’ Joint Motion for Protective Order. [ECF No. 22.]
20    The Court GRANTS the parties’ joint motion and enters the following Protective Order,
21    as submitted by the parties:
22          The Court recognizes that at least some of the documents and information
23    (“materials”) being sought through discovery in the above-captioned action are, for
24    competitive reasons, normally kept confidential by the parties. The parties have agreed to
25    be bound by the terms of this Protective Order (“Order”) in this action.
26          The materials to be exchanged throughout the course of the litigation between the
27    parties may contain trade secret or other confidential research, technical, cost, price,
28    marketing or other commercial information, as is contemplated by Federal Rule of Civil

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 1    Procedure 26(c)(1)(G). The purpose of this Order is to protect the confidentiality of such
 2    materials as much as practical during the litigation. THEREFORE:
 3                                           DEFINITIONS
 4          1.     The term "confidential information" will mean and include information
 5    contained or disclosed in any materials, including documents, portions of documents,
 6    answers to interrogatories, responses to requests for admissions, trial testimony, deposition
 7    testimony, and transcripts of trial testimony and depositions, including data, summaries,
 8    and compilations derived therefrom that is deemed to be confidential information by any
 9    party to which it belongs.
10          2.     The term "materials" will include, but is not be limited to: documents;
11    correspondence; memoranda; bulletins; blueprints; specifications; customer lists or other
12    material that identify customers or potential customers; price lists or schedules or other
13    matter identifying pricing; minutes; telegrams; letters; statements; cancelled checks;
14    contracts; invoices; drafts; books of account; worksheets; notes of conversations; desk
15    diaries; appointment books; expense accounts; recordings; photographs; motion pictures;
16    compilations from which information can be obtained and translated into reasonably usable
17    form through detection devices; sketches; drawings; notes (including laboratory notebooks
18    and records); reports; instructions; disclosures; other writings; models and prototypes and
19    other physical objects.
20          3.     The term "counsel" will mean outside counsel of record, and other attorneys,
21    paralegals, secretaries, and other support staff employed in the law firms identified below:
22    Law Office of Edgard Garcia and Gordon Rees Skully Mansukhani, LLP. “Counsel” also
23    includes in-house attorneys for Defendant Nationwide Agribusiness Insurance Company
24    and/or its affiliated companies.
25                                         GENERAL RULES
26          4.     Each party to this litigation that produces or discloses any materials, answers
27    to interrogatories, responses to requests for admission, trial testimony, deposition
28    testimony, and transcripts of trial testimony and depositions, or information that the


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 1    producing party believes should be subject to this Protective Order may designate the same
 2    as "CONFIDENTIAL" or "CONFIDENTIAL - FOR COUNSEL ONLY."
 3                a.     Designation as "CONFIDENTIAL": Any party may designate
 4          information as "CONFIDENTIAL" only if, in the good faith belief of such party and
 5          its counsel, the unrestricted disclosure of such information could be potentially
 6          prejudicial to the business or operations of such party.
 7                b.     Designation as "CONFIDENTIAL - FOR COUNSEL ONLY": Any
 8          party may designate information as "CONFIDENTIAL - FOR COUNSEL ONLY"
 9          only if, in the good faith belief of such party and its counsel, the information is
10          among that considered to be most sensitive by the party, including but not limited to
11          trade secret or other confidential research, development, financial or other
12          commercial information.
13                c.     Counsel for the parties will agree on a mutually acceptable manner of
14          labeling or marking materials as “CONFIDENTIAL” or “CONFIDENTIAL – FOR
15          COUNSEL ONLY – SUBJECT TO PROTECTIVE ORDER.”
16          5.    In the event the producing party elects to produce materials for inspection, no
17    marking need be made by the producing party in advance of the initial inspection. For
18    purposes of the initial inspection, all materials produced will be considered as
19    "CONFIDENTIAL - FOR COUNSEL ONLY," and must be treated as such pursuant to the
20    terms of this Order. Thereafter, upon selection of specified materials for copying by the
21    inspecting party, the producing party must, within a reasonable time prior to producing
22    those materials to the inspecting party, mark the copies of those materials that contain
23    confidential information with the appropriate confidentiality marking.
24          6.    Whenever a deposition taken on behalf of any party involves a disclosure of
25    confidential information of any party:
26                a.     the deposition or portions of the deposition must be designated as
27          containing confidential information subject to the provisions of this Order; such
28          designation must be made on the record whenever possible, but a party may


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 1          designate portions of depositions as containing confidential information after
 2          transcription of the proceedings; [A] party will have until twenty-one (21) calendar
 3          days after receipt of the deposition transcript to inform the other party or parties to
 4          the action of the portions of the transcript to be designated "CONFIDENTIAL" or
 5          "CONFIDENTIAL - FOR COUNSEL ONLY.”
 6                 b.    the disclosing party will have the right to exclude from attendance at
 7          the deposition, during such time as the confidential information is to be disclosed,
 8          any person other than the deponent, counsel (including their staff and associates),
 9          the court reporter, and the person(s) agreed upon pursuant to paragraph 9 below; and
10                 c.    the originals of the deposition transcripts and all copies of the
11          deposition must bear the legend "CONFIDENTIAL" or "CONFIDENTIAL - FOR
12          COUNSEL ONLY," as appropriate, and the original or any copy ultimately
13          presented to a court for filing must not be filed unless it can be accomplished under
14          seal, identified as being subject to this Order, and protected from being opened
15          except by order of this Court.
16          7.     All confidential information designated as "CONFIDENTIAL" or
17    "CONFIDENTIAL FOR COUNSEL ONLY" must not be disclosed by the receiving party
18    to anyone other than those persons designated within this order and must be handled in the
19    manner set forth below and, in any event, must not be used for any purpose other than in
20    connection with this litigation, unless and until such designation is removed either by
21    agreement of the parties, or by order of the Court.
22          8.     Information designated "CONFIDENTIAL - FOR COUNSEL ONLY" must
23    be viewed only by counsel (as defined in paragraph 3) of the receiving party, and by
24    independent experts under the conditions set forth in this Paragraph. The right of any
25    independent expert to receive any confidential information will be subject to the advance
26    approval of such expert by the producing party or by permission of the Court. The party
27    seeking approval of an independent expert must provide the producing party with the name
28    and curriculum vitae of the proposed independent expert, and an executed copy of the form


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 1    attached hereto as Exhibit A, in advance of providing any confidential information of the
 2    producing party to the expert. Any objection by the producing party to an independent
 3    expert receiving confidential information must be made in writing within ten (10) calendar
 4    days following receipt of the identification of the proposed expert. Confidential
 5    information may be disclosed to an independent expert if the ten-day period has passed and
 6    no objection has been made. The approval of independent experts must not be unreasonably
 7    withheld.
 8          9.     Information designated "CONFIDENTIAL" must be viewed only by the
 9    named Plaintiff James Brock, Defendant Nationwide Agribusiness Insurance Company,
10    counsel (as defined in paragraph 3) of the receiving party, by independent experts (pursuant
11    to the terms of paragraph 8), by court personnel, and by the additional individuals listed
12    below, provided each such individual has read this Order in advance of disclosure and has
13    executed a copy of the form attached hereto as Exhibit A:
14                 a)     Executives who are required to participate in policy decisions with
15          reference to this action;
16                 b)     Technical personnel of the parties with whom Counsel for the parties
17          find it necessary to consult, in the discretion of such counsel, in preparation for trial
18          of this action; and
19                 c)     Stenographic and clerical employees associated with the individuals
20          identified above.
21          10.    With     respect     to   material       designated     "CONFIDENTIAL"         or
22    "CONFIDENTIAL – FOR COUNSEL ONLY," any person indicated on the face of the
23    document to be its originator, author or a recipient of a copy of the document, may be
24    shown the same.
25          11.    All information which has been designated as "CONFIDENTIAL" or
26    "CONFIDENTIAL -FOR COUNSEL ONLY" by the producing or disclosing party, and
27    any and all reproductions of that information, must be retained in the custody of the counsel
28    for the receiving party identified in paragraph 3, except that independent experts authorized


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 1    to view such information under the terms of this Order may retain custody of copies such
 2    as are necessary for their participation in this litigation.
 3          12.    Before any materials produced in discovery, answers to interrogatories,
 4    responses to requests for admissions, deposition transcripts, or other documents which are
 5    designated as “CONFIDENTIAL” or “CONFIDENTIAL – FOR COUNSEL ONLY” are
 6    filed with the Court for any purpose, the party seeking to file such material must seek
 7    permission of the Court to file the material under seal.
 8          13.    No document shall be filed under seal unless counsel secures a court order
 9    allowing the filing of a document, or portion thereof, under seal. An application to file a
10    document under seal shall be served on opposing counsel and on the person or entity that
11    has custody and control of the document, if different from opposing counsel. If opposing
12    counsel, or the person or entity who has custody and control of the document, wishes to
13    oppose the application, they must contact the Chambers of the judge who will rule on the
14    application to notify the Court that an opposition to the application will be filed.
15          14.    At any stage of these proceedings, any party may object to a designation of
16    the materials as confidential information. The party objecting to confidentiality must
17    notify, in writing, counsel for the designating party of the objected-to materials and the
18    grounds for the objection. The parties must thereafter meet and confer in accordance with
19    Civil Local Rule 26.1(a) and Judge Pettit’s Civil Chambers Rules. If the dispute is not
20    resolved consensually between the parties within fourteen (14) calendar days of receipt of
21    such a written notice of objections, the parties may jointly request the Court’s assistance
22    with the dispute in accordance with Judge Pettit’s Civil Chambers Rules. The materials at
23    issue must be treated as confidential information, as designated by the designating party,
24    until the Court has ruled on the objection or the matter has been otherwise resolved.
25          15.    All confidential information must be held in confidence by those inspecting
26    or receiving it and must be used only for purposes of this action. Counsel for each party,
27    and each person receiving confidential information must take reasonable precautions to
28    prevent the unauthorized or inadvertent disclosure of such information. If confidential


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 1    information is disclosed to any person other than a person authorized by this Order, the
 2    party responsible for the unauthorized disclosure must immediately bring all pertinent facts
 3    relating to the unauthorized disclosure to the attention of the other parties and, without
 4    prejudice to any rights and remedies of the other parties, make every effort to prevent
 5    further disclosure by the party and by the person(s) receiving the unauthorized disclosure.
 6          16.    No party will be responsible to another party for disclosure of confidential
 7    information under this Order if the information in question is not labeled or otherwise
 8    identified as such in accordance with this Order.
 9          17.     If a party, through inadvertence, produces any confidential information
10    without labeling or marking or otherwise designating it as such in accordance with this
11    Order, the designating party may give written notice to the receiving party that the
12    document or thing produced is deemed confidential information, and that the document or
13    thing produced should be treated as such in accordance with that designation under this
14    Order. The receiving party must treat the materials as confidential, once the designating
15    party so notifies the receiving party. If the receiving party has disclosed the materials before
16    receiving the designation, the receiving party must notify the designating party in writing
17    of each such disclosure.
18          18.    Nothing within this order will prejudice the right of any party to object to the
19    production of any discovery material on the grounds that the material is protected as
20    privileged or as attorney work product.
21          19.    Nothing in this Order will bar counsel from rendering advice to their clients
22    with respect to this litigation and, in the course thereof, relying upon any information
23    designated as confidential information, provided that the contents of the information must
24    not be disclosed.
25          20.    This Order will be without prejudice to the right of any party to oppose
26    production of any information for lack of relevance or any other ground other than the mere
27    presence of confidential information. The existence of this Order must not be used by either
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 1    party as a basis for discovery that is otherwise improper under the Federal Rules of Civil
 2    Procedure.
 3          21.    Nothing within this order will be construed to prevent disclosure of
 4    confidential information if such disclosure is required by law or by order of the Court.
 5          22.    Upon final termination of this action, including any and all appeals, counsel
 6    for each party must, upon request of the producing party, return all confidential information
 7    to the party that produced the information, including any copies, excerpts, and summaries
 8    of that information, or must destroy same at the option of the receiving party, and must
 9    purge all such information from all machine-readable media on which it resides.
10    Notwithstanding the foregoing, counsel for each party may retain all pleadings, briefs,
11    memoranda, motions, and other documents filed with the Court that refer to or incorporate
12    confidential information and will continue to be bound by this Order with respect to all
13    such retained information. Further, attorney work product materials that contain
14    confidential information need not be destroyed, but, if they are not destroyed, the person
15    in possession of the attorney work product will continue to be bound by this Order with
16    respect to all such retained information.
17          23.    The restrictions and obligations set forth within this order will not apply to
18    any information that:
19                 (a)   the parties agree should not be designated confidential information;
20                 (b)   the parties agree, or the Court rules, is already public knowledge;
21                 (c)   the parties agree, or the Court rules, has become public knowledge other
22          than as a result of disclosure by the receiving party, its employees, or its agents in
23          violation of this Order; or
24                 (d) has come or will come into the receiving party's legitimate knowledge
25          independently of the production by the designating party. Prior knowledge must be
26          established by pre-production documentation.
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 1          24.    The restrictions and obligations within this order will not be deemed to
 2    prohibit discussions of any confidential information with anyone if that person already has
 3    or obtains legitimate possession of that information.
 4          25.    Transmission by email or some other currently utilized method of
 5    transmission is acceptable for all notification purposes within this Order.
 6          26.    This Order may be modified by written agreement of the parties, subject to
 7    approval by the Court.
 8          27.     The Court may modify the terms and conditions of this Order sua sponte in
 9    the interest of justice or for public policy reasons. The parties prefer that the Court provide
10    them with notice of the Court's intent to modify the Order and the content of those
11    modifications, prior to entry of such an order.
12          28.    Without separate court order, this Order and the parties’ stipulation do not
13    change, amend, or circumvent any court rule or local rule.
14          IT IS SO ORDERED.
15    Dated: February 24, 2025                     ________________________________________ ____

16                                                 HON. MICHELLE M. PETTIT
                                                   United States Magistrate Judge
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 1                                           EXHIBIT A
 2               ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
 3          I declare under penalty of perjury that I have read in its entirety and understand the
 4    Protective Order (“Order”) that was issued by the United States District Court for the
 5    Southern District of California on February 24, 2025, in the case James Brock dba Brock
 6    Farms v. Nationwide Agribusiness Insurance Company, et al, Case No. 3:24-cv-01165
 7    JES-MMP. I agree to comply with and to be bound by all the terms of the Order, and I
 8    understand and acknowledge that failure to do so comply could expose me to sanctions
 9    and punishment in the nature of contempt. I solemnly promise that I will not disclose in
10    any manner any information of item that is subject to the Order to any person or entity,
11    except in strict compliance with the provisions of the Order.
12          I further agree to submit to the jurisdiction of the United States District Court for
13    the Southern District of California for the purpose of enforcing the terms of the Order,
14    even if such enforcement proceedings occur after termination of this action.
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16          Name                ____________________________________________
17          Signature:          ____________________________________________
18          Date:               ________________
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